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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,          )
                                   )
                Plaintiff,         )
                                   )                  4:05CR3001
           v.                      )
                                   )
ROBERT ALLEN CONEY,                )
                                   )           MEMORANDUM AND ORDER
                Defendant.         )
                                   )




     The pretrial services officer has recommended that the court
not approve the defendant's mother as a third-party custodian,
because she has a criminal record involving felony drug offenses.
Although I have observed the defendant's mother testifying at the
hearing on the motion to suppress, and I have no information that
she has failed to abide by her conditions of probation, I must
agree that her criminal activity--at a time when this defendant
was only nine or ten years of age--casts serious doubt on whether
she would report the defendant to authorities if he did not
follow conditions of release.      I shall therefore deny the pending
motions.


     This defendant has, until the events giving rise to this
case, a relatively minor criminal history.           Although I do
consider him a serious flight risk because of the potential
sentence he faces if convicted, I continue to think he is
releasable with adequate safeguards.         I am open to considering
another release proposal with a different third-party custodian
or some other supervised living arrangement, together with
electronic monitoring and other conditions.
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     IT THEREFORE HEREBY IS ORDERED,

     Defendant's motion and amended motion for release to third
party custodian, filings 17 and 52, respectively, are denied.

     DATED this 4th day of May, 2005.

                                   BY THE COURT:


                                   s/ David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
